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                       IN THE UNITED STATES DISTRICT COURT               D
                          WESTERN DISTRICT OF ARKANSAS           Sfp 2 6 201~
                               EL DORADO DIVISION         CfPUs R. JOHN.
                                                            Y           SON, Clerk
                                                                                 D,·ruty C'lcrk

Eddie B. Robinson, as Administrator for The Estate of
Willie Robinson, Sr., deceased                                                     PLAINTIFF

          v.                    CASE NO. :
                                                   ll{- fOSI
EOR-ARK, LLC; V AJ LLC; Senior Living Communities of
Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
LLC; Pine Hills Holdings, LLC; Pine Hills Health and
Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;
SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
Property Holdings, LLC; SLC Property Investors, LLC; Arkansas
Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
Professionals of Arkansas, LLC, nlk/a SLC Professionals, LLC;
Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
Professionals Holdings, LLC; SLC Administrative Services of
Arkansas, LLC; and John Dwyer                                                 DEFENDANTS

                                  NOTICE OF REMOVAL

          Together the Defendants, EOR-ARK, LLC; VAJ LLC; Senior Living Communities of

Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings,

LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation; SLC

Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property Holdings, LLC; SLC

Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;

Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare

Ventures, LLC; ADDIT, LLC; SLC Professionals of Arkansas, LLC, nlk/a SLC Professionals,

LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality Review, LLC;

Arkansas SNF Operations Acquisition, LLC; SLC Professionals Holdings, LLC; SLC

Administrative Services of Arkansas, LLC; and John Dwyer (collectively, the "Defendants"),




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        give notice of the removal of this action from the Circuit Court of Ouachita County, Arkansas to

        the United States District Court for the Western District of Arkansas, El Dorado Division. This

        Court has diversity jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as demonstrated

        by the following:

                  1.        The Plaintiff filed a Complaint on October 2, 2013, in the Circuit Court of

        Ouachita County, Arkansas, Sixth Division, case number CV-2013-200-6, styled Eddie B.

        Robinson, as Administrator for the Estate of Willie Robinson, Sr., deceased v. EOR-ARK, LLC;

        VAl LLC; Senior Living Communities of Arkansas, LLC; SLC Operations Holdings, LLC; SLC

        Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a

        Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties,

        LLC; SLC Property Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home

        Acquisition, LLC; CSCV Holdings, LLC; Capital Funding Group, Inc.; Capital Funding, LLC;

        Capital Finance, LLC; Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC Professionals of

        Arkansas, LLC, nlk/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900 Magnolia Road

        SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals

        Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G.

        Hunter, Administrator (herein the "Removed Action"). The Complaint is attached hereto as

        Exhibit B.

                  2.        The Complaint was filed by Eddie B. Robinson, as the Administrator for the

        Estate of Willie Robinson, Sr. , and seeks damages based on alleged injuries to Willie Robinson,

        Sr., who was a resident at the long-term care facility operated by Defendant Pine Hills Health

        and Rehabilitation, LLC d/b/a Pine Hills Health and Rehabilitation. Willie Robinson Sr. was a

        citizen of Arkansas, and therefore the Plaintiff, as the Administrator of the Estate of Willie




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     Robinson, Sr. , is also a citizen of Arkansas for purposes of diversity jurisdiction. See 28 U.S.C.

     § 1332(c)(2).

              3.        This case "has become removable" within the meaning of 28 U.S.C. § 1446(b)(3),

     and this Court therefore has original jurisdiction over this action pursuant to 28 U.S.C. § 1332(a),

     because the Plaintiff voluntarily dismissed the only non-diverse defendant. When the Complaint

     was originally filed on October 2, 2013 , the Complaint included a named defendant-Michael G.

     Hunter-who was a citizen of Arkansas, which meant that diversity jurisdiction did not exist at

     the time the Complaint was filed. Exhibit B (Complaint), '1{34. The Plaintiff subsequently filed a

     Notice of Voluntary Dismissal as to Michael Hunter, which was then signed by the Honorable

     David Guthrie and was entered on the state court docket on September 4, 2014, thus becoming

     effective on that date. Exhibit C (Order for Voluntary Dismissal as to Michael Hunter); see also

     ARK. R. CIV. P. 41(a)(l) (voluntary dismissal by the plaintiff is a matter of right, but "it is

     effective only upon entry of a court order dismissing the action .").

              4.        Now that the only non-diverse defendant has been voluntarily dismissed by the

     Plaintiff, there is complete diversity between the parties: the Plaintiff is a citizen of Arkansas, but

     (as established below) none of the remaining Defendants is a citizen of Arkansas, nor were the

     remaining Defendants citizens of Arkansas when the Complaint was filed on October 2, 2013.

     In other words, this lawsuit "has become removable" within the meaning of 28 U.S.C.

     § 1446(b)(3), and the Defendants have properly and timely invoked this Court's jurisdiction by

     filing this Notice of Removal within 30 days of the date that this case became removable (and

     within one year of the date the Complaint was filed). See 28 U.S.C. § 1446(b)(3) ("if the case

     stated by the initial pleading is not removable, a notice of removal may be filed within 30 days of

     receipt by the defendant, through service or otherwise, of a copy of an amended pleading,




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 motion, order or other paper from which it may first be ascertained that the case is one which is

 or has become removable.").

           5.        None of the Defendants was a citizen of Arkansas when the Complaint was filed

 on October 2, 2013, and none of the Defendants is a citizen of Arkansas today. The citizenship

 of the Defendants is as follows: 1

                a. Defendant EOR-ARK, LLC was a single-member LLC whose sole member was

                     Arkansas SNF Operations Acquisition, LLC.                   Arkansas SNF Operations

                     Acquisition, LLC has two members, Arkansas Nursing Home Acquisition, LLC

                     and CSCV Holdings, LLC.           Arkansas Nursing Home Acquisition, LLC is a

                     single-member LLC whose sole member is Alan Zuccari, and Mr. Zuccari is a

                     citizen of Virginia. CSCV Holdings, LLC has two members, Capital Funding

                     Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is a Maryland

                     corporation with its principal place of business in Maryland. Brian Reynolds is a

                     citizen of Maryland.     Thus, EOR-ARK, LLC was a citizen of Virginia and

                     Maryland for purposes of diversity jurisdiction. See OnePoint Solutions, LLC v.

                     Borchert, 486 F.3d 342, 346 (8th Cir. 2007) ("An LLC's citizenship, for purposes

                     of diversity jurisdiction, is the citizenship of each of its members."); see also 28

                     U.S.C. § 1332(c)(l). EOR-ARK, LLC has been dissolved.

                b. Defendant V AJ LLC was a single-member LLC whose sole member was

                     Arkansas SNF Operations Acquisition, LLC.                   Arkansas SNF Operations

                     Acquisition, LLC has two members, Arkansas Nursing Home Acquisition, LLC

                     and CSCV Holdings, LLC.           Arkansas Nursing Home Acquisition, LLC is a


 1
   Unless otherwise specified, the information specified in paragraphs S(a)-(z) is accurate both as of the date the
 Complaint was filed (October 2, 20 13) and also as of the date of this Notice of Removal.



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                            single-member LLC whose sole member is Alan Zuccari, and Mr. Zuccari is a

                            citizen of Virginia. CSCV Holdings, LLC has two members, Capital Funding

                            Group, Inc. and Brian Reynolds . Capital Funding Group, Inc. is a Maryland

                            corporation with its principal place of business in Maryland. Brian Reynolds is a

                            citizen of Maryland. Thus, V AJ LLC was a citizen of Virginia and Maryland for

                            purposes of diversity jurisdiction. See OnePoint Solutions, 486 F.3d at 346; see

                            also 28 U.S .C. § 1332(c)(l). VAJ LLC has been dissolved.

                       c. Defendant Senior Living Communities of Arkansas, LLC was a single-member

                            LLC whose sole member was Arkansas SNF Operations Acquisition, LLC.

                            Arkansas SNF Operations Acquisition, LLC has two members, Arkansas Nursing

                            Home Acquisition, LLC and CSCV Holdings, LLC. Arkansas Nursing Home

                            Acquisition, LLC is a single-member LLC whose sole member is Alan Zuccari,

                            and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has two members,

                            Capital Funding Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is

                            a Maryland corporation with its principal place of business in Maryland. Brian

                            Reynolds is a citizen of Maryland.       Thus, Senior Living Communities of

                            Arkansas, LLC was a citizen of Virginia and Maryland for purposes of diversity

                            jurisdiction.   See OnePoint Solutions, 486 F.3d at 346; see also 28 U.S.C.

                            § 1332(c)(l). Senior Living Communities of Arkansas, LLC has been dissolved.

                       d. Defendant SLC Operations Holdings, LLC was a single-member LLC whose sole

                            member was Arkansas SNF Operations Acquisition, LLC.             Arkansas SNF

                            Operations Acquisition, LLC has two members, Arkansas Nursing Home

                            Acquisition, LLC and CSCV Holdings, LLC.              Arkansas Nursing Home




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                    Acquisition, LLC is a single-member LLC whose sole member is Alan Zuccari,

                    and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has two members,

                    Capital Funding Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is

                    a Maryland corporation with its principal place of business in Maryland. Brian

                    Reynolds is a citizen of Maryland. Thus, SLC Operations Holdings, LLC was a

                    citizen of Virginia and Maryland for purposes of diversity jurisdiction.     See

                    OnePoint Solutions, 486 F.3d at 346; see also 28 U.S.C. § 1332(c)(l).       SLC

                    Operations Holdings, LLC has been dissolved.

               e. Defendant SLC Operations, LLC was a single-member LLC whose sole member

                    was Arkansas SNF Operations Acquisition, LLC.         Arkansas SNF Operations

                    Acquisition, LLC has two members, Arkansas Nursing Home Acquisition, LLC

                    and CSCV Holdings, LLC.        Arkansas Nursing Home Acquisition, LLC is a

                    single-member LLC whose sole member is Alan Zuccari, and Mr. Zuccari is a

                    citizen of Virginia. CSCV Holdings, LLC has two members, Capital Funding

                    Group, Inc. and Brian Reynolds.       Capital Funding Group, Inc. is a Maryland

                    corporation with its principal place of business in Maryland. Brian Reynolds is a

                    citizen of Maryland. Thus, SLC Operations, LLC was a citizen of Virginia and

                    Maryland for purposes of diversity jurisdiction. See OnePoint Solutions, 486 F.3d

                    at 346; see also 28 U.S.C. § 1332(c)(l).       SLC Operations, LLC has been

                    dissolved.

               f. Defendant Pine Hills Holdings, LLC was a single-member LLC whose sole

                    member was Arkansas SNF Operations Acquisition, LLC.             Arkansas SNF

                    Operations Acquisition, LLC has two members, Arkansas Nursing Home




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                    Acquisition, LLC and CSCV Holdings, LLC.              Arkansas Nursing Home

                    Acquisition, LLC is a single-member LLC whose sole member is Alan Zuccari,

                    and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has two members,

                    Capital Funding Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is

                    a Maryland corporation with its principal place of business in Maryland. Brian

                    Reynolds is a citizen of Maryland. Thus, Pine Hills Holdings, LLC was a citizen

                    of Virginia and Maryland for purposes of diversity jurisdiction. See OnePoint

                    Solutions, 486 F.3d at 346; see also 28 U.S.C. § 1332(c)(l). Pine Hills Holdings,

                    LLC has been dissolved.

               g. Defendant Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills Health and

                    Rehabilitation is a single-member LLC whose sole member is Arkansas SNF

                    Operations Acquisition, LLC. Arkansas SNF Operations Acquisition, LLC has

                    two members, Arkansas Nursing Home Acquisition, LLC and CSCV Holdings,

                    LLC. Arkansas Nursing Home Acquisition, LLC is a single-member LLC whose

                    sole member is Alan Zuccari, and Mr. Zuccari is a citizen of Virginia. CSCV

                    Holdings, LLC has two members, Capital Funding Group, Inc. and Brian

                    Reynolds.       Capital Funding Group, Inc. is a Maryland corporation with its

                    principal place of business in Maryland. Brian Reynolds is a citizen of Maryland.

                    Thus, Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills Health and

                    Rehabilitation is a citizen of Virginia and Maryland for purposes of diversity

                    jurisdiction.    See OnePoint Solutions, 486 F.3d at 346; see also 28 U.S.C.

                    § 1332(c)(l).




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              h. Defendant SLC Operations Master Tenant, LLC is a single-member LLC whose

                   sole member is Arkansas SNF Operations Acquisition, LLC. Arkansas SNF

                   Operations Acquisition, LLC has two members, Arkansas Nursing Home

                   Acquisition, LLC and CSCV Holdings, LLC.              Arkansas Nursing Home

                   Acquisition, LLC is a single-member LLC whose sole member is Alan Zuccari,

                   and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has two members,

                   Capital Funding Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is

                   a Maryland corporation with its principal place of business in Maryland. Brian

                   Reynolds is a citizen of Maryland. Thus, SLC Operations Master Tenant, LLC is

                   a citizen of Virginia and Maryland for purposes of diversity jurisdiction. See

                   OnePoint Solutions, 486 F.3d at 346; see also 28 U.S.C. § 1332(c)(l).

              1.   Defendant SLC Properties, LLC was a single-member LLC whose sole member

                   was SLC Property Holdings, LLC. SLC Property Holdings, LLC was a single-

                   member LLC whose sole member was SLC Property Investors, LLC.               SLC

                   Property Investors, LLC was a single-member LLC whose sole member was

                   Arkansas SNF Operations Acquisition, LLC.            Arkansas SNF Operations

                   Acquisition, LLC has two members, Arkansas Nursing Home Acquisition, LLC

                   and CSCV Holdings, LLC.        Arkansas Nursing Home Acquisition, LLC is a

                   single-member LLC whose sole member is Alan Zuccari, and Mr. Zuccari is a

                   citizen of Virginia. CSCV Holdings, LLC has two members, Capital Funding

                   Group, Inc. and Brian Reynolds.       Capital Funding Group, Inc. is a Maryland

                   corporation with its principal place of business in Maryland. Brian Reynolds is a

                   citizen of Maryland. Thus, SLC Properties, LLC was a citizen of Virginia and




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                   Maryland for purposes of diversity jurisdiction. See OnePoint Solutions, 486 F.3d

                   at 346; see also 28 U.S .C. § 1332(c)(l). SLC Properties, LLC, SLC Property

                   Holdings, LLC, and SLC Property Investors, LLC have all been dissolved.

              J.   Defendant SLC Property Holdings, LLC was a single-member LLC whose sole

                   member was SLC Property Investors, LLC. SLC Property Investors, LLC was a

                   single-member LLC whose sole member was Arkansas SNF Operations

                   Acquisition, LLC.     Arkansas SNF Operations Acquisition, LLC has two

                   members, Arkansas Nursing Home Acquisition, LLC and CSCV Holdings, LLC.

                   Arkansas Nursing Home Acquisition , LLC is a single-member LLC whose sole

                   member is Alan Zuccari, and Mr. Zuccari is a citizen of Virginia.         CSCV

                   Holdings, LLC has two members, Capital Funding Group, Inc. and Brian

                   Reynolds.   Capital Funding Group, Inc. is a Maryland corporation with its

                   principal place of business in Maryland. Brian Reynolds is a citizen of Maryland.

                   Thus, SLC Property Holdings, LLC was a citizen of Virginia and Maryland for

                   purposes of diversity jurisdiction. See OnePoint Solutions, 486 F.3d at 346; see

                   also 28 U.S.C. § 1332(c)(l). SLC Property Holdings, LLC and SLC Property

                   Investors, LLC have both been dissolved.

              k. Defendant SLC Property Investors, LLC was a single-member LLC whose sole

                   member was Arkansas SNF Operations Acquisition, LLC.              Arkansas SNF

                   Operations Acquisition, LLC has two members, Arkansas Nursing Home

                   Acquisition, LLC and CSCV Holdings, LLC.              Arkansas Nursing Home

                   Acquisition , LLC is a single-member LLC whose sole member is Alan Zuccari,

                   and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has two members,




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                    Capital Funding Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is

                    a Maryland corporation with its principal place of business in Maryland. Brian

                    Reynolds is a citizen of Maryland. Thus, SLC Property Investors, LLC was a

                    citizen of Virginia and Maryland for purposes of diversity jurisdiction.       See

                    OnePoint Solutions, 486 F.3d at 346; see also 28 U.S.C. § 1332(c)(l).          SLC

                    Property Investors, LLC has been dissolved.

               1.   Defendant Arkansas Nursing Home Acquisition, LLC is a single-member LLC

                    whose sole member is Alan Zuccari, and Mr. Zuccari is a citizen of Virginia.

                    Thus, Arkansas Nursing Home Acquisition, LLC is a citizen of Virginia for

                    purposes of diversity jurisdiction. See OnePoint Solutions, 486 F.3d at 346.

               m. Defendant CSCV Holdings, LLC has two members, Capital Funding Group, Inc.

                    and Brian Reynolds. Capital Funding Group, Inc. is a Maryland corporation with

                    its principal place of business in Maryland.     Brian Reynolds is a citizen of

                    Maryland. Thus, CSCV Holdings, LLC is a citizen of Maryland for purposes of

                    diversity jurisdiction.   See OnePoint Solutions, 486 F.3d at 346; 28 U.S.C.

                    § 1332(c)(l).

               n. Defendant Capital Funding Group, Inc. is a Maryland corporation with its

                    principal place of business in Maryland. Thus, Capital Funding Group, Inc. is a

                    citizen of Maryland for purposes of diversity jurisdiction.       See 28 U.S .C.

                    § 1332(c)(l).

               o. Defendant Capital Funding, LLC is a single-member LLC whose sole member is

                    CFG Community Bank, Inc.          CFG Community Bank, Inc. is a Maryland

                    corporation with its principal place of business in Maryland.       Thus, Capital




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                    Funding, LLC is a citizen of Maryland for purposes of diversity jurisdiction. See

                    OnePoint Solutions, 486 F.3d at 346; 28 U.S.C. § 1332(c)(l).

               p. Defendant Capital Finance, LLC is a single-member LLC whose sole member is

                    CFG Community Bank, Inc.               CFG Community Bank, Inc. is a Maryland

                    corporation with its principal place of business in Maryland.        Thus, Capital

                    Finance, LLC is a citizen of Maryland for purposes of diversity jurisdiction. See

                    OnePoint Solutions, 486 F.3d at 346; 28 U.S.C. § 1332(c)(l).

               q. When the Complaint was filed on October 2, 2013, Defendant Capital SeniorCare

                    Ventures, LLC was a single-member LLC whose sole member was Capital

                    Funding Group, Inc. Capital Funding Group, Inc. is a Maryland corporation with

                    its principal place of business in Maryland.       As of the date of this Notice of

                    Removal, Defendant Capital SeniorCare Ventures, LLC has two members,

                    Capital Funding Group, Inc. and Brian Reynolds. Mr. Reynolds is a citizen of

                    Maryland. Thus, as of the date the Complaint was filed and as of the date of this

                    Notice of Removal, Capital SeniorCare Ventures, LLC was and is a citizen of

                    Maryland for purposes of diversity jurisdiction. See OnePoint Solutions, 486 F. 3d

                    at 346; 28 U.S.C. § 1332(c)(l).

               r.   Defendant ADDIT, LLC is a single-member LLC whose sole member is SLC

                    Professionals Holdings, LLC.           SLC Professionals Holdings, LLC has two

                    members, CSCV Consulting, LLC and Arkansas Nursing Home Acquisition,

                    LLC. CSCV Consulting, LLC is a single-member LLC whose sole member is

                    CSCV Holdings, LLC. CSCV Holdings, LLC has two members, Capital Funding

                    Group, Inc. and Brian Reynolds.          Capital Funding Group, Inc. is a Maryland




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                    corporation with its principal place of business in Maryland. Brian Reynolds is a

                    citizen of Maryland.    Arkansas Nursing Home Acquisition, LLC is a single-

                    member LLC whose sole member is Alan Zuccari, and Mr. Zuccari is a citizen of

                    Virginia. Thus, ADDIT, LLC is a citizen of Maryland and Virginia for purposes

                    of diversity jurisdiction.   OnePoint Solutions, 486 F.3d at 346; 28 U.S.C. §

                    1332(c)(l).

               s. Defendant SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC is

                    a single-member LLC whose sole member is SLC Professionals Holdings, LLC.

                    SLC Professionals Holdings, LLC has two members, CSCV Consulting, LLC and

                    Arkansas Nursing Home Acquisition, LLC. CSCV Consulting, LLC is a single-

                    member LLC whose sole member is CSCV Holdings, LLC. CSCV Holdings,

                    LLC has two members, Capital Funding Group, Inc. and Brian Reynolds. Capital

                    Funding Group, Inc. is a Maryland corporation with its principal place of business

                    in Maryland. Brian Reynolds is a citizen of Maryland. Arkansas Nursing Home

                    Acquisition, LLC is a single-member LLC whose sole member is Alan Zuccari,

                    and Mr. Zuccari is a citizen of Virginia. Thus, SLC Professionals of Arkansas,

                    LLC, n/k/a SLC Professionals, LLC is a citizen of Maryland and Virginia for

                    purposes of diversity jurisdiction. OnePoint Solutions, 486 F.3d at 346; 28 U.S .C.

                    § 1332(c)(l).

               t.   Defendant Senior Vantage Point, LLC was an LLC with three members: Jerry

                    Kemper, William F. Smith, and Christopher Cook. Jerry Kemper is a citizen of

                    Indiana. William F. Smith is a citizen of Texas. Christopher Cook is a citizen of




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                   Indiana. Thus, Senior Vantage Point, LLC was a citizen of Texas and Indiana for

                   purposes of diversity jurisdiction. Senior Vantage Point, LLC has been dissolved.

              u. Defendant 900 Magnolia Road SW, LLC is a single-member LLC whose sole

                   member is OHI Asset HUD CFG, LLC. OHI Asset HUD CFG, LLC is a single-

                   member LLC whose sole member is Omega Healthcare Investor, Inc. Omega

                   Healthcare Investor, Inc. is a Maryland corporation with its principal place of

                   business in Maryland.    Thus, 900 Magnolia Road SW, LLC is a citizen of

                   Maryland for purposes of diversity jurisdiction. OnePoint Solutions, 486 F.3d at

                   346; 28 U.S.C. § 1332(c)(l).

              v. Defendant Quality Review, LLC had two members, Ruth Hanlon and Terry

                   Hanlon. Ruth Hanlon and Terry Hanlon are both citizens of Florida. Quality

                   Review, LLC was therefore a citizen of Florida for purposes of diversity

                   jurisdiction. OnePoint Solutions, 486 F.3d at 346. Quality Review, LLC has

                   been dissolved.

              w. Defendant Arkansas SNF Operations Acquisition, LLC has two members,

                   Arkansas Nursing Home Acquisition, LLC and CSCV Holdings, LLC. Arkansas

                   Nursing Home Acquisition, LLC is a single-member LLC whose sole member is

                   Alan Zuccari, and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has

                   two members, Capital Funding Group, Inc. and Brian Reynolds. Capital Funding

                   Group, Inc. is a Maryland corporation with its principal place of business in

                   Maryland.   Brian Reynolds is a citizen of Maryland.       Thus, Arkansas SNF

                   Operations Acquisition, LLC is a citizen of Virginia and Maryland for purposes




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                     of diversity jurisdiction. See OnePoint Solutions, 486 F.3d at 346; see also 28

                     U.S.C. § 1332(c)(l).

                x. Defendant SLC Professionals Holdings, LLC has two members, CSCV

                     Consulting, LLC and Arkansas Nursing Home Acquisition, LLC.               CSCV

                     Consulting, LLC is a single-member LLC whose sole member is CSCV Holdings,

                     LLC. CSCV Holdings, LLC has two members, Capital Funding Group, Inc. and

                     Brian Reynolds. Capital Funding Group, Inc. is a Maryland corporation with its

                     principal place of business in Maryland. Brian Reynolds is a citizen of Maryland.

                     Arkansas Nursing Home Acquisition, LLC is a single-member LLC whose sole

                     member is Alan Zuccari, and Mr. Zuccari is a citizen of Virginia. Thus, SLC

                     Professionals Holdings, LLC is a citizen of Virginia and Maryland for purposes of

                     diversity jurisdiction.   See OnePoint Solutions, 486 F.3d at 346; see also 28

                     U.S.C. § 1332(c)(l).

                y. Defendant SLC Administrative Services of Arkansas, LLC was a single-member

                     LLC whose sole member was Arkansas SNF Operations Acquisition, LLC.

                     Arkansas SNF Operations Acquisition, LLC has two members, Arkansas Nursing

                     Home Acquisition, LLC and CSCV Holdings, LLC. Arkansas Nursing Home

                     Acquisition, LLC is a single-member LLC whose sole member is Alan Zuccari,

                     and Mr. Zuccari is a citizen of Virginia. CSCV Holdings, LLC has two members,

                     Capital Funding Group, Inc. and Brian Reynolds. Capital Funding Group, Inc. is

                     a Maryland corporation with its principal place of business in Maryland. Brian

                     Reynolds is a citizen of Maryland.       Thus, SLC Administrative Services of

                     Arkansas, LLC was a citizen of Virginia and Maryland for purposes of diversity




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                   jurisdiction.   See OnePoint Solutions, 486 F.3d at 346; see also 28 U.S .C.

                   § 1332(c)(l). SLC Administrative Services of Arkansas, LLC has been dissolved.

                z. Defendant John Dwyer was a citizen of Maryland as of October 2, 2013. As of

                   the date of this Notice of Removal, Mr. Dwyer is a citizen of Florida.

          6.       Thus, there is complete diversity between the parties because the Plaintiff is a

citizen of Arkansas, and (as set forth in Paragraph 5) none of the Defendants is a citizen of

Arkansas.

         7.        The amount-in-controversy requirement is met because the allegations in the

Plaintiff's Complaint show that the amount in controversy exceeds $75,000, excluding interest

and costs. See Exhibit B (Complaint), Cj[Cj[63, 71, 80 (alleging claims for damages in an amount

"exceeding that required by this Court and by federal court jurisdiction in diversity of citizenship

cases ... .");see also 28 U.S.C. § 1446(c)(2).

         8.        All of the Defendants join in this Notice of Removal and consent to the removal

of this action. See 28 U.S.C. § 1446(b)(2)(A).

         9.        This action may be removed to the United States District Court for the Western

District of Arkansas, El Dorado Division, because this Court embraces the place where the state-

court action is pending, the Circuit Court of Ouachita County, Arkansas.                               28 U.S.C.

§§ 1441(a), 1446(a).

          10.      Attached to this Notice of Removal is "Exhibit A," which includes a copy of all

state-court process, pleadings, and orders that have been filed in the Removed Action in

accordance with 28 U.S .C. § 1446(a). 2


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   For the Court's convenience, the Defendants have included additional copies of certain pertinent pleadings and
orders that are relevant to this Notice of Removal ; those additional copies are attached as Exhibits B-C hereto. For
the avoidance of doubt, Defendants wish to clarify that Exhibit A is a complete copy of the entire state-court record
in the Removed Action.



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          11.       A copy of this Notice of Removal is being filed concurrently in the Removed

Action in the Circuit Court of Ouachita County, Arkansas. 28 U.S .C. § 1446(d).

          12.       In the Complaint, the Plaintiff included a demand for a jury trial.        The

Defendants, however, contend that this case should be decided before an arbitrator pursuant to a

valid arbitration agreement. To that end, the Defendants filed a motion to compel arbitration in

the Removed Action. This Notice of Removal is being filed subject to, and without waiver of,

the Defendants' motion to compel arbitration, which is still pending at the time of this removal.

         WHEREFORE, the Defendants hereby give their Notice of Removal of the Removed

Action to this Court and respectfully request that this Court grant the Defendants all just and

proper relief.



Dated: September 25, 2014                             Respectfully submitted,

                                                      KUTAK ROCK LLP



                                                      By ~M       . Dossett, AR 95174
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                                                          Stephen Dacus, AR 2014018
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                                                          Attorneys for Defendants




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                                     CERTIFICATE OF SERVICE

            I hereby certify that I served this Notice of Removal by U.S. Mail, postage prepaid, on
    this 25th day of September, 2014, to:

              Mr. William P. Murray, III
              WILKES & McHUGH, P.A.
              1601 Cherry Street, Suite 1300
              Philadelphia, PA 19102

              Mr. John V. O'Grady
              WILKES & McHUGH, P.A.
              1 North Dale Mabry Hwy., Suite 800
              Tampa, FL 33609

              Robert H. Edwards
              THE EDWARDS FIRM, P.L.L.C.
              711 West Third Street
              Little Rock, AR 72201



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